              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         BRYSON CITY DIVISION
                                2:14 po 04


UNITED STATES OF AMERICA,                   )
                                            )
Vs.                                         )            ORDER
                                            )
1) DAVID CHADWICK CRISP,                    )
2) DAVID FRANK CRISP,                       )
                                            )
                  Defendants.               )
____________________________________        )


      THIS MATTER has come before the undersigned pursuant to a Motion to

Amend Bill of Information (#24) filed by the Government in this matter. At the

call of this matter on for hearing, it appeared that the Defendant David Chadwick

Crisp was present with his counsel Eric W. Stiles and the Defendant David Frank

Crisp was present and represented by his attorney Russell L. McLean, III, and the

Government was present through Assistant United States Attorney Richard

Edwards.    Counsel for both the Defendant David Chadwick Crisp and the

Defendant David Frank Crisp advised the Court they did not object to the motion

to amend the bill of information. As a result, the motion will be allowed.

                                     ORDER

      IT IS, THEREFORE, ORDERED that the Motion to Amend Bill of

Information (#24) is hereby ALLOWED and the Government will be allowed to

file the Amended Bill of Information that has now been filed in this matter, that


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being (#33).

                                  Signed: October 8, 2014




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